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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                    Case Number 20-13293
v.                                                           Honorable David M. Lawson

INTERNATIONAL UNION, UNITED
AUTOMOBILE, AEROSPACE, AND
AGRICULTURAL IMPLEMENT
WORKERS OF AMERICA,

               Defendant.
                                             /

                        ORDER GRANTING MOTION FOR LEAVE
                          TO FILE BRIEF AS AMICUS CURIAE

       This matter is before the Court on a motion by non-party Association for Union Democracy

for leave to file a brief as amicus curiae in support of non-party Unite All Workers for

Democracy’s motion to intervene. No party has opposed the motion, and the time for doing so has

passed. The Court therefore will grant the motion and allow the parties an opportunity to submit

their concise rebuttals to the amicus presentation, if any they may have.

       Accordingly, it is ORDERED that the motion for leave to file a brief as amicus curiae

(ECF No. 25) is GRANTED, and the proposed amicus brief that was attached as an exhibit to the

motion is deemed filed. If the parties want to file any rebuttals to the amicus presentation, then

they may do so by filing supplemental opposition briefs at or before noon on April 19, 2021.

The rebuttal briefs, if any, may not exceed five pages for each party. Further requests for

cumulative briefing on the motion to intervene will not be entertained.

                                                             s/David M. Lawson
                                                             DAVID M. LAWSON
                                                             United States District Judge

Date: April 15, 2021
